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                            EXHIBIT 1
          to Verified Complaint for Injunctive Relief & Damages
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